Case 2:22-cv-12159-JJCG-APP ECF No. 14, PageID.553 Filed 10/18/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

ALEXUS MURPHY, MARKITTA             )
WITCHER, and DIANE HAINES,          )
individually and on behalf of all others
                                    )
similarly situated,                 ) Case No. 2:22-cv-12159
                                    )
                    Plaintiffs,     ) Hon. David M. Lawson
                                    )
          vs.                       ) Magistrate Judge Anthony P. Patti
                                    )
ACTIVE INTEREST MEDIA, INC.,        )
                                    )
                     Defendant.     )
____________________________________)

                               NOTICE OF APPEARANCE

To:        The Clerk of Court and all parties of record,

           I am admitted or otherwise authorized to practice in this court, and I appear in

this case as counsel for Defendant ACTIVE INTEREST MEDIA, INC.


Dated: October 18, 2022



                                                   /s/ Katelynn McCollough
                                                   Katelynn McCollough
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                             CERTIFICATE OF SERVICE

       I hereby certify that on October 18, 2022, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by email to all parties by operation of the Court’s
electronic filing system as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.

                                                    /s/ Katelynn McCollough
                                                    Katelynn McCollough
